       Case 2:08-cr-00087-RHW     ECF No. 94   filed 11/10/09   PageID.274 Page 1 of 2



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                             UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF WASHINGTON
 8    UNITED STATES OF AMERICA,
 9             Plaintiff,                        NO. CR-08-087-RHW-2
10             v.                                ORDER GRANTING
11                                               DEFENDANT’S MOTION TO
      VANESSA L. SEAVER,                         MODIFY CONDITIONS OF
12                                               SUPERVISED RELEASE
               Defendant.
13
14
           Before the Court are Defendant’s Motion to Modify Conditions of
15
     Supervised Release (Ct. Rec. 85) and Motion to Expedite Hearing thereupon (Ct.
16
     Rec. 87). These motions were heard on an expedited basis without oral argument.
17
     Defendant asks that the Court modify the conditions of her supervised release to
18
     allow her to visit co-Defendant Amos with their minor child at the Spokane County
19
     Jail. Defendant represents that Probation and the Government have no objection to
20
     this request.
21
           Accordingly, IT IS HEREBY ORDERED:
22
           1. Defendant’s Motion to Modify Conditions of Supervised Release (Ct.
23
     Rec. 85) and Motion to Expedite Hearing thereupon (Ct. Rec. 87) are GRANTED.
24
           2. Defendant is allowed to visit co-Defendant Orlo James Amos with their
25
     minor child at the Spokane County Jail.
26
     ///
27
     ///
28
     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY
     CONDITIONS OF SUPERVISED RELEASE * 1
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 1          IT IS SO ORDERED. The District Court Executive is directed to enter this
 2 Order and forward copies to counsel, the U.S. Probation Office, and the U.S.
 3 Marshal Service.
 4          DATED this 10th day of November, 2009.
 5
 6                                        s/Robert H. Whaley
 7                                     ROBERT H. WHALEY
                                      United States District Court
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY
     CONDITIONS OF SUPERVISED RELEASE * 2
